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 6
 7                            UNITED STATES DISTRICT COURT
 8                           CENTRAL DISTRICT OF CALIFORNIA
 9
     RODRICK YBANEZ, an individual,
                                ) Case No.: 8:17-CV-00661-DOC-DFM
10
                                )
11                              ) Notice of Settlement
12                              )
                Plaintiff,      )
13                              )
14   v.                         )
                                )
15
     DEVILLE ASSET MANAGEMENT, )
16   LTD; and DOES 1 through 10 )
17
     inclusive.                 )
                                )
18               Defendant.     )
19                              )
20
21         The parties hereby give notice that this matter is settled. The parties anticipate filing a
22   dismissal within 45 days.
23
24
     Dated: April 11, 2018                   /s/Jeremy S. Golden__________________________
25
                                             Jeremy S. Golden
26                                           Attorney for Plaintiff
27
28



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                                              Notice of Settlement
